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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                               CASE NO. 3:09cr38 LAC

ABRAHAM ALVAREZ

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on July 24, 2009
Motion/Pleadings: EX PARTE APPLICATION FOR WRIT OF HABEAS CORPUS AD
TESTIFICANDUM AND REQUEST FOR SEALING (for witness Gerardo Mora Cerano)
Filed by DEFENDANT                     on 7/23/09    Doc.# 78

RESPONSES:
___________________________________ on               Doc.#
                                     on              Doc.#
       Stipulated        Joint Pldg.
       Unopposed         Consented
                                     WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                            ORDER
Upon   consideration     of   the   foregoing,      it   is   ORDERED     this   31 st   day   of
July, 2009, that:
(a) The relief requested is GRANTED.
(b) Gerardo Mora Cerano’s attorney is to be notified.




                                                              s /L.A. Collier
                                                            LACEY A. COLLIER
                                                  Senior United States District Judge




Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
